  Case 17-51549-SCS          Doc 26    Filed 06/14/19 Entered 06/14/19 12:52:20           Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Newport News
                                _______________________ Division

   In re David Paul Buck                                       Case No. 17-51549-SCS
         Amy Denise Buck

                           Debtor(s)                           Chapter 7

             ORDER PURSUANT TO CHAPTER 7 TRUSTEE’S FINAL REPORT,
             APPLICATION FOR COMPENSATION AND APPLICATION(S) FOR
                       COMPENSATION OF PROFESSIONALS

           The Trustee having filed his final report before distribution and the court having
   thereafter duly examined and considered all applications for compensation and reimbursement of
   expenses and no hearing being necessary under the circumstances; it is therefore

          ORDERED that reasonable compensation for actual and necessary services rendered or
   reimbursement of actual and necessary expenses incurred are hereby awarded or allowed
   pursuant to 11 U.S.C. §330(a), §503(b)(2) or §503(b)(4), as follows:


   APPLICANTS                                          COMMISSIONS/FEES              EXPENSES
Clara P. Swanson, Trustee                               $1,544.23                     $74.04




         It is further ORDERED that the compensation of the Trustee may be increased to include
   commissions earned on interest accrued through the date of distribution.

          The Clerk shall forward a copy of this order to the Trustee and the United States Trustee.


         Jun 14 2019
   Date: _______________________               __________________________________________
                                               /s/ Stephen C. St.John
                                               United States Bankruptcy Judge


                                               NOTICE OF JUDGMENT OR ORDER
                                                                  Jun 14 2019
                                               ENTERED ON DOCKET: ___________________


   [otfrnhrg ver. 10/09]
